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.v. 2:04cR20381-01-D W/D of mt li§:li?hls

CHERM|KA MCM|LLAN

Edwin Per[y, FPD
Defense Attorney

200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT lN A CR|MINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on March 30, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Count
Tme s. section Me_ofle_n§ offense Number¢s)
Concluded
18 U.S.C. § 1001 False, Fictitious, and Fraudu|ent 04/29/2003 2

Statements and Representations
involving the Use of an incorrect Social
Security Number

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 1& 3 are dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all tines, restitution. costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 02/10/1979 Ju|y 28, 2005
Deft’s U.S. Marsha| No.: 19893-076

Defendant's Mailing Address:
7751 ParkmontAvenue

Memphis, TN 38125
ERN|CE B. DONALD
UN|TED STATES DlSTRlCT JUDGE
Thl! dooumlnt entered on the docket et ln nce

with nth ss and/or sam Fnch on July£__, 2005

 
    
   

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PROBATION

The defendant is hereby placed on probation for a term of 4 Years.

While on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation officer to visit him or her at any time at home or efsewhere and
shall permit coancation of any contraband observed in plain view by the probation officer;

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10.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement.

if this judgment imposes a Hne or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1.

The defendant shall participate in substance abuse testing and treatment
programs as directed by the Probation Offticer.

The defendant shall be prohibited from incurring new credit charges,
opening additional lines of credit, or making an obligation for any major
purchases without approval of the Probation Officer.

The defendant shall provide the Probation Officer access to any requested
financial information.

The defendant shall seek and maintain full-timel verifiable employment as
directed by the Probation Officer.

The defendant shall provide third party risk notifications as directed by the
Probation Officer.

The defendant shall cooperate with DNA collection as directed by the
Probation Officer.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

 

Totai Assessment Tota| Fine Total Restitution
$100.00 $1000.00 $1141.62

The Speciai Assessment shall be due immediately.

FiNE
A Fine in the amount of $ 1000.00 is imposed.
REST|TUT|ON

Restitution in the amount of $1141.62 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

 

Priority
Tota| Amount of Order
Name of pas£ee Amount Restitution Ordered or
of Loss Percentage
of Payment
Community Mortgage $1141.62 $1141.62
Corporation,

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to payl payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
of gross monthiyincome. interest requirement is waived. Defendant is to notify the
Court and the United States Attorney of any material change in economic
circumstances that may affect the defendant's ability to pay restitution.

Uniess the court has expressly ordered othen)vise in the special instructions above, if thisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless othenivise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

Joint and Several
Defendant Name. Case Number, and Joint and Several Amount:

Orti'iai Stone, 2:O4CR20387-02, $1,141.62

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
ease 2:04-CR-20387 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Edwin A. Perry

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i\/lemphis7 TN 38103

Traey Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

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Marty B. MeAfee
MCAFEE & MCAFEE
246 Adams Ave.
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Honorable Berniee Donald
US DISTRICT COURT

